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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS

In re: GREENHUT, Andrew                                       Chapter 13
       SSN xxx xx 2515                                        Case No. 19-10782-FJB


           MOTION OF CHAPTER 13 TRUSTEE FOR ORDER DISMISSING CASE
                  NOTICE OF BAR DATE OBJECTIONS/RESPONSES

    Now comes the Chapter 13 Trustee (the "Trustee") and respectfully moves the Court for an
Order dismissing this case. In support thereof, the Trustee states as follows:

     1. On March 12, 2019, the above-captioned debtor (the "Debtors") filed a petition for relief
        under Chapter 13 of the United States Bankruptcy Code.

     2. On May 1, 2019, the Trustee convened and presided at a meeting of creditors. The Plan
        is not feasible.

     3. The Plan provides for the unsecured claims totaling $385,787.24 to receive dividend of
        27.17% which total $104,835.00. However, the unsecured claims filed total $516,151.64.

     4. The Trustee asserts that the Debtors’ failure to file a confirmable Plan constitutes
        unreasonable delay that is prejudicial to creditors and is grounds for dismissal pursuant to
        11 U.S.C sec. 1307(c).


       WHEREFORE, the Trustee respectfully requests that this Court enter an Order
dismissing this case with prejudice.

Respectfully Submitted,
By: /s/ Carolyn A. Bankowski
Carolyn A. Bankowski, BBO #631056
Patricia A. Remer, BBO#639594
Office of the Chapter 13 Trustee
P.O. Box 8250
Boston, MA 02114
(617) 723-1313
13trustee@ch13boston.com

Dated: June 28, 2019




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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re: GREENHUT, Andrew                                    Chapter 13
       SSN xxx xx 2515                                     Case No. 19-10782-FJB



                                 ORDER DISMISSING CASE


The motion of the Chapter 13 Trustee to dismiss this case having come before this Court, due
notice having been given, and for cause shown, it is hereby:


         ORDERED: that this Chapter 13 case is dismissed


Dated:




                                                   U.S. Bankruptcy Judge




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                          UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MASSACHUSETTS

In re: GREENHUT, Andrew                                     Chapter 13
       SSN xxx xx 2515                                      Case No. 19-10782-FJB



                  NOTICE OF BAR DATE FOR OBJECTIONS/RESPONSES

Notice is given that any responses and/or objections to this motion are to be filed within twenty
one (21) days of the date hereof. If no timely objections/responses are filed, the Court may act
on this motion without further notice or hearing as provided by 11 U.S.C.§102(1)(B).



                                 CERTIFICATE OF SERVICE

The undersigned hereby certifies that a copy of the within Trustee’s Motion to Dismiss was
served upon the Debtor, Debtor's counsel of record and those parties listed on the following
service list by first class mail, postage prepaid or by electronic notice.

Dated: June 28, 2019
                                            /s/ Carolyn A. Bankowski
                                           Carolyn A. Bankowski


                                         SERVICE LIST




Andrew Greenhut                                       Richard N. Gottlieb
21 Kingston Street                                    Law Offices of Richard N. Gottlieb
Somerville, MA 02144                                  Ten Tremont Street
                                                      Suite 11, 3rd Floor
                                                      Boston, MA 02108




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